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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

MELCOMB W. HANKINS                                           PLAINTIFF
ADC #117693

v.                       No. 3:20-cv-314-DPM

ROGER WATKINS, Landlord                                   DEFENDANT

                                ORDER
     Motion for status update, Doc. 6, granted. Hankins’s motion and
the Court’s 13 October 2020 Order and Judgment crossed in the mail.
The Court directs the Clerk to send Hankins another copy of those
papers, Doc. 3 & 4, and a copy of the docket sheet with this Order.
     So Ordered.
                                  ________________________
                                  D.P. Marshall Jr.
                                  United States District Judge

                                     20 October 2020
